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 6                    IN THE UNITED STATES DISTRICT COURT FOR THE
 7                              EASTERN DISTRICT OF CALIFORNIA
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 9      MARIA TORRES, and MELCHOR           )               NO. 1:02-CV-6385 AWI
        TORRES, individually and as         )
10      Administrator of the Estate of      )               ORDER VACATING
        EVERARDO TORRES,                    )               MAY 11, 2009 HEARING DATE
11                                          )               AND TAKING MATTER
                          Plaintiffs,       )               UNDER SUBMISSION
12                                          )
                v.                          )
13                                          )
        CITY OF MADERA, MARCY               )
14      NORIEGA, individually and as a      )
        member of the Madera Police         )
15      Department, and DOES 1 through      )
        50, inclusive,                      )
16                                          )
                          Defendants.       )
17      ____________________________________)
18
19          Defendants’ motion for summary adjudication of issues has been set for hearing in this
20   case on May 11, 2009. The court has reviewed the papers and has determined that this matter is
21   suitable for decision without oral argument. Local Rule 78-230(h). Therefore, IT IS HEREBY
22   ORDERED that the previously set hearing date of May 11, 2009, is VACATED, and the parties
23   shall not appear at that time. As of May 11, 2009, the court will take the matter under
24   submission, and will thereafter issue its decision.
25
26   IT IS SO ORDERED.
27   Dated:     May 6, 2009                            /s/ Anthony W. Ishii
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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